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                               Exhibit 24



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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Reed, Larry                                                 September 26, 2007
                                   Baltimore, MD

                                                                               Page 1
                  UNITED STATES DISTRICT COURT

             OF THE DISTRICT OF MASSACHUSETTS

   -----------------------------x

   IN RE:   PHARMACEUTICAL          :    MDL NO. 1456

   INDUSTRY AVERAGE WHOLESALE       :    CIVIL ACTION

   PRICE LITIGATION                 :    01-CV-12257-PBS

   THIS DOCUMENT RELATES TO         :

   U.S. ex rel. Ven-A-Care of       :    Judge Patti B.

   The Florida Keys, Inc.,          :        Saris

                     Plaintiff,     :

            vs.                     :

   ABBOTT LABORATORIES, INC.,       :   Chief Magistrate

   No. 06-CV-11337-PBS              :   Judge Marianne B.

                     Defendants.    :        Bowler

   -----------------------------x

                                        VOLUME I

                          Baltimore, Maryland

                          Wednesday, September 26, 2007

   Videotape Deposition of:

                          LARRY REED,

   the witness, was called for examination by counsel

   for the Defendants, pursuant to notice, commencing




                          Henderson Legal Services
                                202-220-4158

                                                                 6beda74d-d4ef-4589-b133-19d88d943a5d
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Reed, Larry                                                                September 26, 2007
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                                               Page 2                                                 Page 4
 1   at 9:26 a.m., at the law offices of                  1     IN THE COURT OF THE SECOND JUDICIAL CIRCUIT
 2   Hogan & Hartson, 111 South Calvert Street,           2          IN AND FOR LEON COUNTY, FLORIDA
 3   Baltimore, Maryland, before Dawn A. Jaques,          3   THE STATE OF FLORIDA
 4   Certified Shorthand Reporter and Notary Public in    4   ex rel.
 5   and for the State of Maryland, when were present     5   ------------------------------x
 6   on behalf of the respective parties:                 6   VEN-A-CARE OF THE FLORIDA :
 7                                                        7   KEYS, INC., a Florida           :
 8                                                        8   Corporation, by and through :
 9                                                        9   its principal officers and :
10                                                       10   directors, ZACHARY T.             :
11                                                       11   BENTLEY and T. MARK JONES, :
12                                                       12               Plaintiffs, :
13                                                       13           vs.             :
14                                                       14   MYLAN LABORATORIES, INC., : Civil Action No.:
15                                                       15   MYLAN PHARMACEUTICALS, INC., : 98-3032G
16                                                       16   NOVOPHARM LTD., SCHEIN              :
17                                                       17   PHARMACEUTICAL, INC., TEVA : Judge William L.
18                                                       18   PHARMACEUTICAL INDUSTRIES :           Gary
19                                                       19   LTD, TEVA PHARMACEUTICAL USA, :
20                                                       20   WATSON PHARMACEUTICALS, INC., :
21                                                       21               Defendants. :
22   (CAPTIONS CONTINUED)                                22   ------------------------------x
                                               Page 3                                                 Page 5
 1              IN THE CIRCUIT COURT               1              FRANKLIN CIRCUIT COURT - DIVISION II
 2           OF MONTGOMERY COUNTY, ALABAMA         2                CIVIL ACTION NO. 03-CI-1134
 3   -------------------------x                    3
 4   STATE OF ALABAMA,                :            4          ------------------------------X
 5           Plaintiff, : Case No.                 5          COMMONWEALTH OF KENTUCKY,               :
 6       vs.             : CV-05-219               6                      Plaintiff, :
 7   ABBOTT LABORATORIES, :                        7                  vs.             : Judge
 8   INC., et al.,          : Judge Charles        8                                 : Crittenden
 9           Defendants. :       Price             9          ABBOTT LABORATORIES, INC., :
10   -------------------------x                   10                      Defendant. :
11                                                11          ------------------------------X
12                                                12
13      IN THE CIRCUIT COURT OF THE FIRST CIRCUIT 13               STATE OF WISCONSIN CIRCUIT COURT
14                STATE OF HAWAII                 14                        DANE COUNTY
15   ------------------------------x              15                          Branch 9
16   STATE OF HAWAII,                  :          16          -------------------------x
17               Plaintiff, : Case No.            17          STATE OF WISCONSIN,               :
18           vs.             : 06-10720-04-EEH    18                  Plaintiff, :
19   ABBOTT LABORATORIES, et al., : Judge Eden    19              vs.             :    Case No.
20               Defendants. : Elizabeth Hifo     20          AMGEN, INC., et al., : 04-CV-1709
21   ------------------------------X              21                  Defendants. :
22                                                22          -------------------------x
                                                                                    2 (Pages 2 to 5)
                               Henderson Legal Services
                                     202-220-4158

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                                                               69 (Pages 270 to 273)
                                                  270                                                      272
 1   General I believe as well.                           1   a very limited time to implement the law, at that
 2              (A discussion was held off the            2   point, less than two months, as I remember. It
 3   record.)                                             3   needed a way to implement it, it needed a way to
 4           MS. MARTINEZ: Maybe we should go off         4   deal with partners we had never had before, which
 5   the record.                                          5   were drug manufacturers.
 6           MR. TORBORG: Let's go off the record         6         Medicaid generally is a program that
 7   again until this fiasco is solved.                   7   deals with the states, and the states deal with
 8           THE VIDEOGRAPHER: Going off the              8   providers, so it's a very limited relationship to
 9   record. The time is 15:38:48.                        9   other parties so that to try to best do that, we
10              (A discussion was held off the           10   sat down, got all the parties together, and
11   record.)                                            11   started to go through how we would implement
12           THE VIDEOGRAPHER: Going back on the         12   this.
13   record. The time is 15:40:37.                       13      Q. Were you involved in those negotiations
14   BY MR. TORBORG:                                     14   yourself?
15      Q. Sorry about that, Mr. Reed --                 15      A. Yes.
16      A. That's okay.                                  16      Q. Okay. Who else was involved in those
17      Q. -- although it's technically not my           17   negotiations?
18   fault, I guess.                                     18      A. On the HCFA side, at that point, they
19           MS. MARTINEZ: Not your fault.               19   were led by Bill Hickman, Peggy Rahn was also
20   BY MR. TORBORG:                                     20   involved, and the people -- the people on the
21      Q. We were talking about the                     21   manufacturers' side, on the pharmacy side, and
22   confidentiality provisions of the manufacturer      22   the states' side, I don't remember those names at
                                                  271                                                      273
 1   drug pricing data under the legislation that         1   this point.
 2   implemented the Medicaid Drug Rebate Program --      2       Q. Do you know how many manufacturers were
 3      A. Correct.                                       3   involved?
 4      Q. -- correct?                                    4       A. I don't know offhand. It wasn't a
 5          And I think you agreed with me that the       5   great -- it was not a great deal. It wasn't
 6   statute itself limited the information to CMS and    6   every manufacturer.
 7   the states, correct?                                 7       Q. Do you know --
 8      A. I believe it also adds and their               8       A. Although I don't remember if every
 9   contractors, if I'm remembering correctly.           9   manufacturer were invited to attend or to
10      Q. All right. But at some point --               10   participate in some other manner.
11          MR. HERNANDEZ: Objection, form.              11       Q. Was Abbott involved in those?
12   BY MR. TORBORG:                                     12       A. I don't remember.
13      Q. At some point, a provision was made           13       Q. You indicated pharmacy groups were also
14   that the actual AMP information would not be        14   in attendance?
15   shared with the states; is that right?              15       A. That's correct.
16      A. As a result of those negotiations, the        16       Q. Do you recall which pharmacy groups
17   information that was passed on to the states was    17   were in attendance?
18   not the AMP and the best price. It was a unit       18       A. I don't recall.
19   rebate amount.                                      19       Q. Do you have a concept of the number of
20      Q. Tell me about those negotiations.             20   pharmacy groups?
21      A. Those negotiations were basically the         21       A. There's a limited number of pharmacy
22   parties sitting down to go over the law. We had     22   groups, so, again, whether -- if the invitations


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                                                 302                                                      304
 1   that are not necessarily included in the AWP        1   plan is disapproved, the state either goes back
 2   number --                                           2   to its prior methodology or it has to submit a
 3          MS. POLLACK: Objection to form.              3   new state plan or, before the disapproval, revise
 4   BY MR. TORBORG:                                     4   its state plan and come up with an acceptable
 5       Q. -- such as discounts and rebates?            5   methodology.
 6       A. That I don't know, again, because there      6       Q. But there's nothing in your HCFA
 7   was no -- there is no definition of AWP that we     7   practice or regulations that would require you to
 8   maintain.                                           8   put forth the AMP information if you disapproved
 9       Q. So you had access to the AMP                 9   a state plan, is there?
10   information, correct?                              10       A. I think the logical outcome there would
11       A. Yes.                                        11   be to get an approvable state plan, you would
12       Q. And there's nothing in the law that         12   have to have a definition that reflected AMP.
13   precluded you from using that information in       13       Q. So your understanding was that you
14   deciding whether or not to approve or disapprove   14   could not use AMP information in deciding whether
15   a state plan for reimbursement; is that right?     15   or not to approve or disapprove a state plan?
16          MR. DRAYCOTT: Objection. You can            16       A. We did not use AMP in deciding whether
17   answer.                                            17   to approve or disapprove a state plan.
18          THE WITNESS: Okay. In using that,           18       Q. Okay. And was that something that
19   again, the confidentiality provisions would        19   Congress directed of HCFA or something that HCFA
20   prohibit us using that data in a way which would   20   determined itself?
21   make it public.                                    21          MS. MARTINEZ: Objection to form.
22   BY MR. TORBORG:                                    22          THE WITNESS: Again, I think our -- our
                                                 303                                                      305
 1       Q. Let me see if you can answer my              1   issue there would be having that AMP made public
 2   question.                                           2   through, again, sort of to get to the point where
 3       A. Sure.                                        3   you would have a payment rate that reflects AMP
 4       Q. Maybe you've done the best you can.          4   would mean you would have to disclose AMP.
 5          Do you know if there's anything in the       5          The other issue that does bear on that
 6   statute that would preclude HCFA from using the     6   is a state needed to make a reasonable estimate
 7   AMP information in deciding whether or not to       7   on its own of what its payment rate should be.
 8   approve or disapprove state plans?                  8   BY MR. TORBORG:
 9          MS. MARTINEZ: Objection to form. You         9       Q. Are you aware of any specific
10   can answer.                                        10   legislation that prevented HCFA from using the
11          THE WITNESS: And that is the best I         11   AMP information in deciding whether or not to
12   think I can answer. To use that AMP data to        12   disclose -- or approve or disapprove a state
13   judge a state plan amendment would mean to         13   plan?
14   disclose that AMP information to be able to say    14          MS. MARTINEZ: Objection to form.
15   here's the AMP for this drug, your AWP discount    15          THE WITNESS: And here again, are you -
16   is too low, or for this set of drugs. And, I       16   - if you're asking me is there something in
17   mean -- and, again, these are just completely      17   Section 1927 that says HCFA, do not use AMP to
18   different systems.                                 18   approve or disapprove a state plan, there is
19   BY MR. TORBORG:                                    19   nothing like that.
20       Q. Why would you have to disclose the AMP      20          If your question is is that how we
21   information in order to disapprove a state plan?   21   looked at it, then that is how we looked at it.
22       A. At that point, a methodology -- if a        22   BY MR. TORBORG:


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                                                  314                                                      316
 1          MR. TORBORG: Was that a -- and I'd            1   question.
 2   like to ask Justin, the limited instruction that     2         THE WITNESS: Yes.
 3   you gave him, is that based upon a deliberative      3   BY MR. TORBORG:
 4   process privilege, the attorney-client privilege     4       Q. And with whom did you have that
 5   or both?                                             5   discussion?
 6          MR. DRAYCOTT: Both.                           6       A. Mary Sallus.
 7   BY MR. TORBORG:                                      7       Q. Anyone else?
 8       Q. Okay. Mr. Reed, can you tell me which         8       A. Again, it could have been Bob Jay.
 9   attorneys you spoke with about the issue of          9       Q. If you would take out Exhibit Abbott
10   whether or not HCFA could share AMP data with the   10   284, Mr. Reed, it should be in one of the orange
11   states?                                             11   binders.
12          MR. DRAYCOTT: You may answer the             12         For the record, Exhibit Abbott 284 are
13   question.                                           13   some pages out of the Federal Register dated July
14          THE WITNESS: There were different            14   31, 1987, containing a final rule titled
15   attorneys at different times in the CMS Division    15   "Medicare and Medicaid Programs, Limits on
16   of the Office of General Counsel. Mary Sallus is    16   Payment for Drugs."
17   one attorney. Bob Jay, who I believe has since      17         And, Mr. Reed, if you could review this
18   retired, is another attorney.                       18   particular final rule to the extent necessary to
19   BY MR. TORBORG:                                     19   tell me whether or not you recall it, whether or
20       Q. Do you recall anyone else?                   20   not you had any involvement in it, then I'll have
21       A. I don't recall anybody else.                 21   a few questions for you.
22       Q. Do you recall discussing that with Mary      22       A. I do recall it. I didn't have any
                                                  315                                                      317
 1   Riordan?                                             1   involvement in it, in its promulgation.
 2       A. I don't recall discussing that with           2      Q. Okay. Did you have occasion to review
 3   Mary Riordan.                                        3   the final rule at some point in your career at
 4       Q. You do not?                                   4   HCFA?
 5       A. I do not know recall that.                    5      A. After it was published, yes.
 6       Q. Mr. Reed, did you have discussions            6      Q. And the first page indicates, for
 7   within HCFA about whether or not HCFA itself         7   further information, contact Anthony LeVecchio.
 8   could use the AMP data in deciding whether or not    8          Do you know Mr. LeVecchio?
 9   to approve or disapprove state plans?                9      A. At one point I did. At least I knew
10          MR. DRAYCOTT: Same instruction I             10   him to say hello.
11   previously gave you. You can answer the question    11      Q. And is he retired from HCFA today, do
12   except to the extent it will reveal the content     12   you know?
13   of the deliberations or the content of any          13      A. I haven't had contact with him for a
14   communications with agency counsel.                 14   long time. I believe he is retired.
15          THE WITNESS: We concluded that we            15      Q. I'm going to ask you now to take out
16   couldn't use AMP whether -- where, rather, it       16   Exhibit Abbott 081 in the binders.
17   would have the effect of making that information    17          For the record, Exhibit Abbott 081 is a
18   -- that AMP information public.                     18   Majority Staff Report from the Special Committee
19   BY MR. TORBORG:                                     19   on Aging, United States Senate, titled
20       Q. Did you have -- did those discussions        20   "Prescription Drug Prices: Are We Getting Our
21   include conversations with counsel?                 21   Money's Worth?"
22          MR. DRAYCOTT: You may answer that            22          Mr. Reed, if you would take a glance


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